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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JOHN DOE,

          Plaintiff,                        Civil Action No.: 18-11776
                                            Honorable Arthur J. Tarnow
v.                                          Magistrate Judge Elizabeth A. Stafford

UNIVERSITY OF MICHIGAN,
et al.,

          Defendants.
                                        /

      ORDER DENYING WITHOUT PREJUDICE PLAINTIFF’S MOTION
            FOR INTERIM ATTORNEY’S FEES [ECF NO. 48]

     I.      INTRODUCTION

          Plaintiff John Doe sues the University of Michigan, its Board of

Regents and eight of its employees, alleging that they violated his due

process rights. [ECF No. 47]. In May 2019, Doe moved for interim

attorney’s fees as the alleged prevailing party under 42 U.S.C. § 1988(b).1

[ECF No. 48]. The Honorable Arthur J. Tarnow referred the motion to the

undersigned for hearing and determination under 28 U.S.C. § 636(b). [ECF

No. 65].


1
 Doe requests an award of $109,246.50 in attorney’s fees and $3,737.62 in
costs for the period of May 23, 2018 to April 10, 2019. [ECF No. 48,
PageID.1482, 1496].
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         The Court denies without prejudice Doe’s motion for interim

attorney’s fees.

   II.      BACKGROUND

         Doe claims that a fellow student filed a false sexual misconduct

complaint against him with the Office of Institutional Equity (OIE) at the

University. [ECF No. 47, PageID.1332]. He alleges that, in response to the

complaint, “the OIE commenced an investigation to determine if [Doe] had

violated the Sexual Misconduct Policy, dated February 7, 2018.” [ECF No.

47, PageID.1332]. Doe asserts that the University’s 2018 policy

intentionally deprived him of due process, including a live hearing and

cross-examination. [ECF No. 47, PageID.1333-1340].

         At the start of the litigation, Doe moved for a temporary restraining

order and preliminary injunction, seeking to enjoin the defendants from

withholding his transcript and degree, continuing the OIE investigation and

continuing to use the 2018 policy. [ECF No. 4]. During a June 2018

telephonic status conference, the parties agreed to update the Court on

whether the defendants would release a clean official transcript to Doe.

[ECF No. 19; see also ECF No. 20]. Judge Tarnow later granted in part

and denied in part Doe’s motion for preliminary injunctive relief. [ECF No.

19]. Since he “heard nothing from the parties” about the release of the

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transcript, Judge Tarnow construed their silence as a stipulation to release

the transcript to Doe, but waited for briefing to decide the remaining issues.

[ECF No. 19].

      After the other issues were briefed, Judge Tarnow ordered the

University to provide Doe “with the opportunity for a live hearing in

accordance with the procedures set forth in the” University’s policies and

procedures, but denied his request for campus-wide changes to the

policies and procedures. [ECF No. 30, PageID.743]. The University

appealed the order. [ECF No. 41]. In April 2019, the Sixth Circuit vacated

the preliminary injunction and remanded the case so that Judge Tarnow

could consider the impact of Doe v. Baum, 903 F.3d 575 (6th Cir. 2018),

and of the University’s adoption of a new policy that would apply to Doe’s

case. [ECF No. 42]. The next month, Doe moved for interim attorney’s

fees. [ECF No. 48].

      In his motion, Doe argues that he is the prevailing party because

“there have been concrete orders that determine substantial rights of the

parties,” and the Court’s rulings “resulted in a judicially sanctioned change

in the parties’ relationship.” [ECF No. 48, PageID.1497-1499]. According

to Doe, he was “victorious in four respects”: the June 2018 order that




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allowed him to receive his transcript and degree;2 the July 2018 order

requiring the defendants to provide Doe with a live hearing and cross-

examination;3 the fact that the Sixth Circuit did not rule on the defendants’

standing and ripeness arguments, allowing the case to move forward;4 and

the University’s abandonment of the 2018 policy. [ECF No. 48,

PageID.1497].

    III.     ANALYSIS

                                       A.

           Doe sues defendants under 42 U.S.C. § 1983. Section 1988(b),

which applies to actions brought under § 1983, states that the court “may

allow the prevailing party, other than the United States, a reasonable

attorney’s fee as part of the costs.” To be a prevailing party, a plaintiff

“must receive at least some relief on the merits of his claim such as a

judgment, an injunction, or a consent decree.” Horner v. Kentucky High

Sch. Athletic Ass’n, 206 F.3d 685, 698 (6th Cir. 2000). Prevailing party

status cannot be awarded because of a preliminary injunction that “is

reversed, dissolved, or otherwise undone by the final decision in the same



2
 See ECF No. 19.
3
 See ECF No. 30.
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 See ECF No. 42.
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case.” Sole v. Wyner, 551 U.S. 74, 83 (2007). “[W]e look for a court-

ordered, material, enduring change in the legal relationship between the

parties.” Miller v. Caudill, 936 F.3d 442, 448 (6th Cir. 2019)

      As noted, the Sixth Circuit vacated the preliminary injunction ordered

by Judge Tarnow. [ECF No. 42]. Even so, Doe has enjoyed at least some

relief that cannot be undone; he received his transcript and degree.5 But to

be declared the prevailing party before final judgment, Doe must show that

he achieved court-ordered relief providing him with everything that he

asked for. Miller, 936 F.3d at 448 (“[F]or the change to have been

enduring, it must have been irrevocable, meaning it must have provided

plaintiffs with everything they asked for.”) (emphasis in original). Citing

Miller, the Honorable David M. Lawson denied a motion for interim

attorney’s fees, finding that the plaintiff could not yet be regarded as the



5
 Defendants argue that the University voluntarily released the transcript
and awarded Doe his degree, rather than those actions resulting from a
court order. [ECF No. 50, PageID.1759]. “A defendant’s voluntary change
in conduct, although perhaps accomplishing what the plaintiff sought to
achieve by the lawsuit, lacks the necessary judicial imprimatur” to bestow
prevailing party status. Buckhannon Bd. & Care Home, Inc. v. W. Virginia
Dep't of Health & Human Res., 532 U.S. 598, 605 (2001). But Doe
disputes that the University’s actions were voluntary, stating that they were
prompted by Doe’s motion for injunctive relief and Judge Tarnow’s urging
during a June 2018 telephone conference. [ECF No. 55, PageID.1808-
1809]. The Court makes no finding here about which party should prevail
on this issue.
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“prevailing party.” Doe v. Baum, No. 16-13174, 2019 WL 4809438, at *11

(E.D. Mich. Sept. 30, 2019).

      Declaring a “prevailing party” at this stage of litigation would be

especially precarious here. Defendants have moved to dismiss Doe’s

second amended complaint for lack of subject matter jurisdiction. [ECF No.

49]. Judge Tarnow has yet to rule on defendants’ motion. Under earlier

precedent, if Judge Tarnow were to grant defendants’ motion because the

Court lacks subject matter jurisdictions, the defendants could not be

considered the prevailing parties. Earlier cases emphasized that a

prevailing party must have received relief “on the merits.” Horner, 206 F.3d

at 698. Since a dismissal for want of subject matter jurisdiction is not on

the merits, courts held that such a dismissal renders no “prevailing party”

under fee-shifting statutes. See Int’l Techs. Consultants, Inc. v. Stewart,

No. 07-13391, 2013 WL 1211082, at *4 (E.D. Mich. Jan. 28, 2013),

adopted, No. 07-13391, 2013 WL 1210540 (E.D. Mich. Mar. 25, 2013)

(collecting cases). But the Supreme Court rejected that conclusion.

      In CRST Van Expedited, Inc. v. E.E.O.C., the Court interpreted the

provision of Title VII that allows the “prevailing party” to recover reasonable

attorney’s fees. 136 S.Ct. 1642, 1646 (2016) (citing 42 U.S.C. § 2000e-

5(k)). The Court found that Congress “intended that a defendant could

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recover fees expended in frivolous, unreasonable, or groundless litigation

when the case is resolved in the defendant’s favor, whether on the merits

or not.” Id. Thus, when a defendant prevails in an action, “district courts

may award attorney’s fees if the plaintiff’s claim was frivolous,

unreasonable, or groundless, or if the plaintiff continued to litigate after it

clearly became so.” Id. at 1646 (internal citation and quotation marks

omitted).

         Here, Judge Tarnow might rule that Doe never had standing or that

he lost standing when the University changed its policy. This Court neither

suggests that this would be the proper outcome nor predicts that it is likely.

But the possibility that Judge Tarnow might grant defendants’ motion to

dismiss for lack of subject matter jurisdiction highlights the impropriety of

declaring Doe the prevailing party at this interim stage.

   IV.     CONCLUSION

         The Court DENIES WITHOUT PREJUDICE Doe’s motion for interim

attorney’s fees [ECF No. 48].



                                            s/Elizabeth A. Stafford
                                            ELIZABETH A. STAFFORD
                                            United States Magistrate Judge
Dated: January 15, 2020



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            NOTICE TO PARTIES REGARDING OBJECTIONS

      The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which

provides a period of 14 days from the date of receipt of a copy of this order

within which to file objections for consideration by the district judge under

28 U.S.C. § 636(b)(1).


                         CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing document was served
upon counsel of record and any unrepresented parties via the Court’s ECF
System to their respective email or First Class U.S. mail addresses
disclosed on the Notice of Electronic Filing on January 15, 2020.

                                           s/Marlena Williams
                                           MARLENA WILLIAMS
                                           Case Manager




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